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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
 v.                                                  §                DOCKET NO. 3:19-CR-00473-S
                                                     §
 DANIEL R. CANCHOLA, M.D.                            §

                             NOTICE OF SCHEDULING CONFLICT

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW the Defendant, Daniel R. Canchola, M.D., by and through his counsel of

record, and respectfully submits this Notice of Scheduling Conflict and in support thereof would

show the Court as follows:

        On October 2, 2019, the Court issued a Pretrial Order (Dkt. No. 17), which set a trial date

of December 9, 2019 for this matter, along with various related pretrial deadlines. The Pretrial

Order further set forth that any potential scheduling conflicts must be called to the attention of the

Court in writing within ten (10) days of the date of the Order. Consistent with that Order, Daniel

K. Hagood, P.C. and Alexandra Hunt (hereafter “Counsel”) hereby request that the Court take

notice of a potential scheduling conflict with the trial date set forth in the Pretrial Order.

        Specifically, Counsel has a felony jury trial set for December 9, 2019 in the 371st Judicial

District Court of Tarrant County, Texas (State v. Abdul Razak Alhassan; Cause No. 1540339).

That case was set for trial on that date prior to the issuance of the Court’s Order in this case and

has been reset multiple times prior to the current setting. Accordingly, Counsel expects that it is

very likely to actually proceed to trial on December 9, 2019, which would result in a significant

scheduling conflict, as that is the trial date set for this matter by the Court’s Pretrial Order.




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                                                  Respectfully submitted,

                                                   /s/ Daniel K. Hagood, P.C.      K
                                                  DANIEL K. HAGOOD, P.C.
                                                  Texas Bar No. 08698300

                                                  ALEXANDRA HUNT
                                                  Texas Bar No. 24095711

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                                                  COUNSEL FOR DEFENDANT CANCHOLA



                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of October, 2019, a true and correct copy of the above

and foregoing document was filed electronically with the Clerk of the U.S. District Court for the

Northern District of Texas to be served upon all counsel of record by the Court’s electronic filing

system.

                                                   /s/ Daniel K. Hagood, P.C.          K
                                                  DANIEL K. HAGOOD, P.C.


                                CERTIFICATE OF CONFERENCE
        I hereby certify that on the 10th day of October, 2019, I conferred with US DOJ Trial

Attorney Brynn Schiess regarding the above and foregoing document and that she is unopposed to

the filing of same.

                                                   /s/ Daniel K. Hagood, P.C.          K
                                                  DANIEL K. HAGOOD, P.C.



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